                                                                                       08/22/2024



                                                                                   Case Number: DA 24-0316




          IN THE SUPREME COURT OF THE STATE OF MONTANA
                              CASE No. DA 24-0316

IN RE THE PARENTING OF T.R.L.,
a minor child,
CASSIE NEZ PERCE,
                                                          ORDER
                  Appellant/Petitioner,
v.
BOB A. LUHMAN,
                  Appellee/Respondent.

          Pursuant to Appellee’s motion for extension to file the response

     brief, and good cause appearing,

          IT IS HEREBY ORDERED that the motion is GRANTED. Appellee

     has until September 30, 2024, to file his response brief.

          No further extensions will be granted.




                                                                        Electronically signed by:
                                                                              Mike McGrath
                                                                 Chief Justice, Montana Supreme Court
                                                                             August 22 2024
